Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 1 of 10




               EXHIBIT EE
Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 2 of 10
                Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 3 of 10
Bob – that notion of OOD vs A…I think you are mistaking my OOD’ing (which is my way to understand these
rules…which I’ve read once, you’ve probably read 100s more times than me) for a request/demand for A (action). Not
the case at all.



For context: Tank (Space command 2-star) is someone that has known us extensively for 5 years. He is constant contact
to try and get Leadership Academy seats, to collaborate with us more, asks us for mentorship and requests for our
mindshare on leadership challenges. When he was head of Luke Air Force base, he had our team onsite visiting/
learning as a return favor for all he has taken for himself and his leaders from Next Jump. I’m sharing this as your visit is
interesting but no where near a determining factor in us visiting Space Command. My sharing the details was more to
see if you could go, wanted to go…not a request/command nor your former position and title as the driving factor in
any way of the trip.



Having said this…your last ques…there is nothing unethical we would ask of you. Having a discussion to better
understand what is allowed vs not, we are learning through this discussion. I believe in your rights is the ability to
advise Meghan and I, how to navigate DoD…but you yourself cannot be present (behind the scenes advising us ok, front
lines – not ok)…1 year for DoD, 2 years for Navy. The institutional knowledge of both Navy and DoD is an absolute asset
and value you bring to our organization. Once again, I want to emphasize, nothing that breaches your ethical/ civil/
legal requirements…if my understanding of this is wrong, we are also open to adjusting…meaning your ability to
educate us behind the scenes I believe is fully within your rights to do (please correct me if that is wrong)?



Having said this, as we discussed when we talked about joining next jump, “solely to be a token or entree into DoD
business” (I cut and pasted your note…I think you should recall this is simple not true). Not the driver of our hiring
decision. If it was, I think you know given the investigation and “tarnish” retirement, as you offered us several times,
that would be an easy reason to rescind and not go through with this new partnership/ employment relationship.



The way I explain YOU – sharpest and most experienced leader we’ve met in all of DoD. That is the majority reason for
our interest and our actions to hire you. Our business 2 is all around leadership development. The additional events
that unfolded (unfortunately) “tarnishing”/complications should show a consistent and predictable commitment to
that root reason for hiring you.



Are you seeing different? I can’t tell if this is an over reaction, to a not fully processed 40 year not ideal way to end
Navy…to NYC is expensive, new roles are unknown and scary…you’ve gotten to know us over 6+ years? We have gotten
to know you. Anything I’m missing?




From: Robert Burke                            >
Sent: Friday, September 9, 2022 3:15 PM
To: Charlie Kim <                     >; Meghan Messenger <                           >
Subject: Re: Space Command....FW: [URL Verdict: Neutral][Non-DoD Source] RE: space command visit


                                                             2
                Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 4 of 10



Charlie,



Roger on the Sept Academy reflections - I really think most will generate conversation, some controversial, which is
why I was waiting, but will shoot you a note separately - the notes I have ready do not stand on their own.



On the visit to Space Command - you don't seem to understand. If I am invited back to a DoD entity in a personal
capacity to speak or meet as an individual, that is one thing. If Next Jump is invited, and I go as a representative of
Next Jump (part of the team), that is entirely different.



The rules say (you have these):



"For a period of 1 year after leaving a senior position, former senior officials may not make communications or
appearance on behalf of any other person, with intent to influence, before any officer or employee of the agency or
agencies in which the individual served within 1 year prior to leaving the senior position, in connection with any matter
on which official action is sought by such individual."



There is more, which clarifies that I am a senior official, and the "agency" is all of DoD for me.



Furthermore, while the rules on such matters for Active Duty were a matter of ethics guidelines and policy,
administrative in nature, they are a matter of law for retired officers, subject to criminal prosecution.



A visit to Space Command will be great information and development for you and the Next Jump team. Not so much
for me. It is hard to argue I would be there for any reason other than to influence a DoD leader's future decision. How
do you show there was no intent to use me (at least in part) to generate business down the line with them? In a year,
fair game.



In this first year (two for things considered “lobbying”), I am required to get an OSD legal review. I would fully expect
the answer to be unfavorable.




                                                             3
Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 5 of 10
Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 6 of 10
              Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 7 of 10



1/ bragging rights - From average civilian, What we’ve seen is seeing cool tech, combat, etc has people when they go
back home to friends spouses say - I say this that…on one hand they don’t even really know what they’re talking
about but we’ve done flight simulators. Taken pics next to planes. Control rooms that type of stuff



2/ our observation - I think you’ve seen given esp Meghan and my extensi ve accumulated knowledge and reps seeing
so many different orgs globally, most ask and want our take on what we observed. So staff meeting to check points
to celebration/ recognition, brainstorming etc. We can bring value in reciting back to you what we’ve observed. Most
visits, in fact most military groups scheduled a group out loud reflection having NxJ team recite back what they
observed. To maximize that people would sometimes break us into small teams of 4, 6 etc and then get more
reaction at end of second day.



Does that help some? First one is bragging rights optics “that was cool”. Second one is the real consistency/ bibs
ritual routine observation and then sums up at end of our teams take aways.



Get Outlook for iOS



From: LEONARD, BROOK J Maj Gen USAF USSPACECOM JFSCC/J0CS <                                             >
Sent: Thursday, September 8, 2022 10:10:16 PM
To: Charlie Kim <                     >;                                             >
Cc: Meghan Messenger <                               >
Subject: RE: [URL Verdict: Neutral][Non-DoD Source] RE: space command visit



Charlie - same building, slightly different org but close.



As for planning would like to talk over what you’d like to see / do…the your intent etc.



That will help me see what is feasible…whereas I was the #3 in charge of a large and growing command (one we grew
from a startup but now has a lot of resources), I am shifting to #3 in a start up so little resources and therefore less
leeway to bring a lot to bear for a visit. I still am game and would love to do what I can if only to say hi and catch up
in person and talk about space, and leadership….



Vr


                                                             6
Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 8 of 10
             Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 9 of 10
<                                 >;
Cc: Meghan Messenger <                                >
Subject: [URL Verdict: Neutral][Non-DoD Source] Re: space command visit

When is your last day there?

Get Outlook for iOS <https://aka.ms/o0ukef>

________________________________

From: LEONARD, BROOK J Maj Gen USAF USSPACECOM JFSCC/J0CS
<                                >
Sent: Wednesday, September 7, 2022 8:08 PM
To: Charlie Kim <                  >;               <                          >
Cc: Meghan Messenger <                        >
Subject: RE: space command visit

Charlie and Megan - so great to hear from you! I am transitioning out of my
Chief of Staff role after 3+ years. Longest I have done any one thing in the
military. I will transition to the Director of Operations (COO) for Combined
Joint Task Force - Space Operations...still in Colorado Springs and
associated with US Space Command but not as involved / positioned to drive
the full visit support I would love to provide from what I infer below. I am
open to work through your expectations and see if I can at all make this a
GREAT visit. That said I am much more free to travel in my new job and so if
an opportunity for a leadership seminar in NYC arose...count me in.

Great to hear about Admiral Burke...sounds like a great add to the team.
What made him standout...?

P.S. - I love your leadership snipets...I watched the long range planning /
4 month whiteboard one the other day and am now looking to buy one and
implement.

vr

Tank

Brook Leonard, Maj Gen, USAF
USSPACECOM, Chief of Staff
Comm:
DSN:

-----Original Message-----
From: Charlie Kim <                    >
Sent: Wednesday, September 7, 2022 2:25 PM
To:                      ; LEONARD, BROOK J Maj Gen USAF USSPACECOM JFSCC/J0CS
<                                >
Cc: Meghan Messenger <                              >
Subject: [Non-DoD Source] space command visit

Tank - hope you are doing well. I know all the efforts to get you to NYC

                                                         8
               Case 1:24-cr-00265-TNM Document 29-1 Filed 07/22/24 Page 10 of 10
   hasn't worked. We do an annual "Learning Tour" with some of our senior
   leaders (approx. 12) and wondered if a 2 day visit to Space Command some
   date in October or November could work? Would be interested in seeing how
   you operate, any exposure to leadership training, BIBs, etc.



   Also not sure you know, but Admiral Burke (former CNP and then Vice Chief of
   the Navy - last post was 4-Star in charge of Europe and Africa Navy and
   Commander of NATO), retired recently and will be joining our team full time
   as of October 1.he was by the far the sharpest and most experienced leader
   out of everyone we met in all the services. Key member joining our movement
   to educate and inspire the new century leadership changes (old way vs new).



   Let me know your thoughts on this.



   Regards,

   Charlie

   [EXTERNAL] This email originated from outside of Next Jump. Do not click links or open attachments unless you
   recognize the sender and know the content is safe

  [EXTERNAL] This email originated from outside of Next Jump. Do not click links or open attachments unless you
  recognize the sender and know the content is safe

 [EXTERNAL] This email originated from outside of Next Jump. Do not click links or open attachments unless you
 recognize the sender and know the content is safe

[EXTERNAL] This email originated from outside of Next Jump. Do not click links or open attachments unless you
recognize the sender and know the content is safe




                                                          9
